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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH

 THE SCO GROUP, INC., by and through the
 Chapter 11 Trustee in Bankruptcy, Edward N. Cahn,

           Plaintiff/Counterclaim-Defendant,          STIPULATED DISMISSAL OF ALL
 v.                                                   CLAIMS WITH PREJUDICE
 .
 INTERNATIONAL BUSINESS MACHINES                      Civil No.: 2:03-CV-00294-DN
 CORPORATION,
                                                      Honorable David Nuffer
          Defendant/Counterclaim-Plaintiff.
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       Pursuant to Rule 41 of the Federal Rules of Civil Procedure, the Parties to this action

stipulate that all claims and counterclaims in this matter, whether alleged or not alleged, pleaded

or not pleaded, have been settled, compromised, and resolved in full. The Parties request that all

claims and counterclaims be dismissed with prejudice, on the merits, and the Parties to bear

their own respective costs and expenses, including attorney fees.

       DATED this 4th day of November, 2021.



By: /s/ Brent O. Hatch                               By: /s/ Amy F. Sorenson
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                                  CERTIFICATE OF SERVICE



       I hereby certify that on this 5th day of November 2021, a true and correct copy of the

foregoing document was filed with the clerk of the Court using the efiling system, which sent

notification of such filing to all counsel of record.



                                               /s/ Brent O. Hatch




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